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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE



SYMBOLOGY INNOVATIONS, LLC,          )
                                     )
                Plaintiff,           )
                                     )   C.A. No. ___________________
     v.                              )
                                     )
HELLA GMBH & CO. KGAA, BEHR          )   JURY TRIAL DEMANDED
HELLA SERVICE GMBH, BEHR HELLA       )
SERVICE NORTH AMERICA, LLC AND       )
HELLA AUTOMOTIVE SALES, INC.,        )
                                     )
                Defendants.




                                 Figure 1
                Defendantʼs product implementing QR code

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            ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

       1.    Symbology Innovations, LLC (“Symbology” or “Plaintiff”), by and

through its counsel, hereby brings this action for patent infringement against Hella

GmbH & Co. KGaA (“Hella”), Behr Hella Service GmbH, Behr Hella Service North

America, LLC (together with Behr Hella Service GmbH, “Behr Hella Service”), and

Hella Automotive Sales, Inc. (“Hella Automotive”) (collectively “Defendant”)

alleging infringement of the following validly issued patent (the “Patent-in-Suit”):

U.S. Patent No. 8,424,752, titled “System and method for presenting information

about an object on a portable electronic device” (the “ʼ752 Patent”), attached

hereto as Exhibit A.

                           NATURE OF THE ACTION

       2.    This is an action for patent infringement arising under the United

States Patent Act 35 U.S.C. §§ 1 et seq., including 35 U.S.C. § 271.

                                     PARTIES

       3.    Plaintiff Symbology Innovations, LLC is a Texas company with its

principal place of business at 1400 Preston Road, Suite 400, Plano, TX 75093.

       4.    On information and belief, Defendant Hella GmbH & Co. KGaA is a

company organized in Germany with a principal place of business at Rixbecker

Strasse 75, Lippstadt, 59552, Germany.

       5.    On information and belief, Defendant Behr Hella Service GmbH is a

company organized in Germany with a principal place of business at Dr-Manfred-

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Behr-Strasse 1 Schwaebisch Hall, 74523 Germany. On information and belief,

Defendant Hella GmbH & Co. KGaA has a 50% ownership stake in Defendant Behr

Hella Service GmbH. See Ex. 1 at 190.

      6.    On information and belief, Defendant Behr Hella Service North

America, LLC is a company organized in Delaware and may be served through its

registered agent The Corporation Trust Company, Corporation Trust Center 1209

Orange St., Wilmington DE, 19801. On information and belief, Defendant Behr

Hella Service North America, LLC is a wholly owned subsidiary of Behr Hella

Service GmbH. See Ex. 1 at 190.

      7.    On information and belief, Defendant Hella Automotive Sales, Inc. is a

company incorporated in Michigan with a principal place of business at 201 Kelly

Drive, Peachtree City, GA 30269. Defendant may be served through its registered

agent C T Corporation System located at 289 S Culver St., Lawrenceville, GA

30046. On information and belief, Defendant Hella Automotive Sales, Inc. is a

wholly owned subsidiary of Hella Corporate Center USA, Inc.; Hella Corporate

Center USA, Inc. is a wholly owned subsidiary of Hella Holding International,

GmbH; and Hella Holding International, GmbH is a wholly owned subsidiary of

Defendant Hella GmbH & Co. KGaA. See Ex. 1 at 188, 190.

                         JURISDICTION AND VENUE

      8.    This lawsuit is a civil action for patent infringement arising under the

patent laws of the United States, 35 U.S.C. § 101 et seq. The Court has subject-

matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1332, 1338(a), and 1367.

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       9.     The Court has personal jurisdiction over Defendant for the following

reasons: (1) Defendant is present within or has minimum contacts within the State

of Delaware and the District of Delaware; (2) Defendant has purposefully availed

itself of the privileges of conducting business in the State of Delaware and this

district; (3) Defendant has sought protection and benefit from the laws of the

State of Delaware; and (4) Defendant regularly conducts business within the State

of Delaware and within this district, and Plaintiffʼs cause of action arises directly

from Defendantʼs business contacts and other activities in the State of Delaware

and in this district.

       10.    Defendant, directly and/or through intermediaries, ships, distributes,

uses, offers for sale, sells, and/or advertises products and services in the United

States, the State of Delaware, and this district including but not limited to the

products which contain the infringing ʼ752 Patent systems and methods as

detailed below. Upon information and belief, Defendant has committed patent

infringement in the State of Delaware and in this district; Defendant solicits and

has solicited customers in the State of Delaware and in this district; and

Defendant has paying customers that are residents of the State of Delaware and

this district and that use and have used Defendantʼs products and services in the

State of Delaware and in this district.

       11.    Additionally, personal jurisdiction is proper over Behr Hella Service

North America, LLC which is a company organized in Delaware. Personal

jurisdiction is proper over Defendant Hella GmbH & Co. KGaA and Defendant Behr

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Hella Service GmbH pursuant to Fed. R. Civ. P. § 4(k)(2).

         12.   Venue is proper in the District of Delaware pursuant to 28 U.S.C. §§

1400(b). Defendant is incorporated in this district, has transacted business in this

district, and has directly and/or indirectly committed acts of patent infringement

in this district.

                                  PATENT-IN-SUIT

         13.   The Patent-in-Suit teaches systems and methods for enabling a

portable electronic device (e.g., smartphone) to retrieve information about an

object when the objectʼs symbology (e.g. QR code) is detected.



                      SUMMARY OF INFRINGING ACTIONS

         14.   Defendant Hella, parent of the other named defendants, “is a global,

family-owned company listed on the stock exchange that employs over 40,000

members of staff at over 125 locations in some 35 countries.” See Ex. 2 (available

at      https://www.hella.com/hella-com/en/HELLA-at-a-Glance-723.html).        “The

HELLA Group develops and manufactures lighting and electronic components and

systems for the automotive industry, and also has one of the largest trade

organizations for automotive parts, accessories, diagnosis and services within

Europe.” See Ex. 2.

         15.   Defendant Hella represents that “[w]ith more than 7,000 people

working in research and development, HELLA is one of the most important

innovation drivers on the market.” See Ex. 2.
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        16.   As part of Hellaʼs approach as an “innovation driver,” Hella utilizes

QR codes throughout its company. For instance, Hella devotes a webpage to

provide general notification of its QR code use. See Ex. 3 – 4 (available at

https://www.hella.com/hella-com/QR-Code-3070.html).

        17.   Defendant Behr Hella Service is a “joint venture of the companies

Behr and [Defendant] HELLA” with each company having “a 50% share in the joint

venture.” See Ex. 5 (available at https://www.behrhellaservice.com/behr-hella-

service/en/Company-profile-5063.html).

        18.   Defendant Behr Hella Service issued a press release in June of 2018

that it “will from now on print a QR code on all product packaging labels.” See Ex.

6                                    (available                                   at

https://www.hella.com/press/assets/media_global/2018.06.14_BHS_PM05_en_Beh

r_Hella_Service_introduces_QR_codes_on_packaging.pdf). The QR codes allow

“wholesalers and workshops to get all product information on their smartphones”

including “current images, vehicle applications and OE numbers from the online

catalog” as well as “360 degree images, material safety data sheets and

installation notes.” See Ex. 6; see also Ex. 7 at p. 6 (available at

https://www.hella.com/partnerworld/assets/documents/1513_NTR_2_2018_BHS_E

N.PDF).

        19.   Defendant Hella Automotive also advertises that it is “tirelessly

promoting     technological    progress.”   See   Ex.   8   at   3   (available   at

https://www.hella.com/hella-

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com/assets/media_global/2018.08.10_HELLA_Annual-

Report_2018_EN_secured.pdf). And one way in which Defendant Hella Automotive

achieves technological progress is through the use of QR codes. See, e.g., Ex. 9 at

9               (available             at              https://www.hella.com/hella-

us/assets/media/HELLA_Automotive_Sales_Company_Overview_2017_EN_LRes.pdf

); see also Figure 1, Ex. 9.




                                       Figure 1

                                   COUNT I
                 (Infringement of U.S. Patent No. 8,424,752)

        20.   Plaintiff incorporates by reference the allegations of paragraphs 1-19,

the same as if set forth herein.

        21.   The ʼ752 Patent is valid, enforceable, and was duly and legally issued

by the United States Patent and Trademark Office (“USPTO”) on April 23, 2013.

The ʼ752 Patent is presumed valid and enforceable. See 35 U.S.C. § 282.

        22.   Plaintiff is the owner by assignment of the ʼ752 Patent and possesses


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all rights of recovery under the ʼ752 Patent, including the exclusive right enforce

the ʼ752 Patent and pursue lawsuits against infringers.

       23.   Without a license or permission from Symbology, Defendant has

infringed and continues to infringe on one or more claims of the ʼ752 Patent—

directly, contributorily, and/or by inducement—by importing, making, using,

offering for sale, or selling products and devices that embody the patented

invention, including, without limitation, one or more of the patented ʼ752 systems

and methods, in violation of 35 U.S.C. § 271.

       Direct Infringement

       24.   Defendant has been and now is directly infringing by, among other

things, practicing all of the steps of the ʼ752 Patent, for example, through internal

testing, quality assurance, research and development, and troubleshooting. See

Joy Techs., Inc. v. Flakt, Inc., 6 F.3d 770, 775 (Fed.Cir. 1993); see also 35 U.S.C. §

271 (2006). For instance, Defendant has directly infringed the Patent-in-Suit by

testing, configuring, and troubleshooting the functionality of QR codes on its

products and services.

       25.   By way of example, Defendant has infringed and continues to infringe

on at least one or more claims, including at least Claim 1 of the ʼ752 Patent which

teaches:

             A method comprising:
               capturing a digital image using a digital image capturing
                 device that is part of a portable electronic device;
               detecting symbology associated with an object within the
                 digital image using a portable electronic device;
               decoding the symbology to obtain a decode string using
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                  one or more visual detection applications residing on
                  the portable electronic device;
                sending the decode string to a remote server for
                processing:
                receiving information about the object from the remote
                  server wherein the information is based on the decode
                  string of the object.
                displaying the information on a display device associated
                  with the portable electronic device.

         26.   On information and belief, at least through testing, quality assurance,

and/or troubleshooting, Defendant employs a method wherein a digital image (i.e.,

“QR code”) associated with its products is captured by the camera of a portable

electronic device (i.e., a smartphone or tablet) (“capturing a digital image using a

digital image capturing device that is part of a portable electronic device”). See

Figures 1, 2, and 3. In a press release on 2018, Defendants noted that they

introduced these QR codes on all of its product packaging labels specifically to

enable smartphones to practice the infringing method as elaborated herein. See

Ex. 6.




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               Figure 1                 Figure 2                 Figure 3

      27.    On information and belief, Defendant uses a smartphone, tablet, or

similar device to detect symbology (i.e., the QR code) associated with an object,

such as the Defendantʼs infringing product (“detecting symbology associated with

an object within the digital image using a portable electronic device”).




                                       Figure 4


      28.    On information and belief, Defendant uses a smartphone, tablet, or

similar device to decode the symbology to obtain a decode string (i.e., hyperlink)

using the visual detection application residing in the smartphone or tablet

(“decoding the symbology to obtain a decode string using one or more visual

detection applications residing on the portable electronic device”). For example, a

smartphone detects the symbology of the QR code on Defendantʼs product and

decodes the digital image captured on the smartphone camera to produce a

decoded hyperlink as shown in the figures below. The decoded string is sent to a

remote server for processing as shown in Figure 5 (“sending the decode string to

a remote server for processing”).
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                                     Figure 5

      29.   On information and belief, after clicking the hyperlink obtained by

scanning the QR code associated with the product, the smartphone receives

information about the product from a remote server. (“receiving information about

the object from the remote server wherein the information is based on the decode

string of the object”). The information is received and displayed on the

smartphone as shown in Figure 6 below (“displaying the information on a display

device associated with the portable electronic device”).




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                                        Figure 6

       Induced Infringement

       30.     Defendant has been and now is indirectly infringing by way of

inducing infringement by others and/or contributing to the infringement by others

of the ʼ752 Patent in the State of Delaware, in this judicial District, and elsewhere

in the United States, by, among other things, making, using, offering for sale,

and/or selling, without license or authority, products affixed with QR codes that

require the accused technology for intended functionality, testing, configuration,

troubleshooting, and other utilization. End users include, for example, customers,

customersʼ customers, retail store personnel, and other third-parties.

       31.     Defendant took active steps to induce infringement, such as

advertising an infringing use, which supports a finding of an intention. See Metro-

Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 932 (2005) (“[I]t may

be presumed from distribution of an article in commerce that the distributor

intended the article to be used to infringe another's patent, and so may justly be

held liable for that infringement").

       32.     The allegations herein support a finding that Defendant induced

infringement     of   the   ʼ752   Patent.   See   Power   Integrations   v.   Fairchild

Semiconductor, 843 F.3d 1315, 1335 (Fed. Cir. 2016)(“[W]e have affirmed

induced infringement verdicts based on circumstantial evidence of inducement

[e.g., advertisements, user manuals] directed to a class of direct infringers [e.g.,

customers, end users] without requiring hard proof that any individual third-party

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direct infringer was actually persuaded to infringe by that material.”).

       Contributory Infringement

       33.   On information and belief, Defendant contributorily infringes on

Symbologyʼs ʼ752 Patent. Defendant knew or should have known, at the very least

with the filing of this complaint as a result of its freedom to operate analyses, that

third parties, such as its customers, would infringe the ʼ752 Patent by

implementing Defendantʼs QR code technology.

       34.   On information and belief, Defendantʼs implementation of the

accused functionality has no substantial non-infringing uses. See, e.g., Lucent

Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1321 (Fed. Cir. 2009) (holding that

the “substantial non-infringing use” element of a contributory infringement claim

applies to an infringing feature or component, and that an “infringing feature” of a

product does not escape liability simply because the product as a whole has other

non-infringing uses).

       Willful Infringement

       35.   On information and belief, the infringement of the ʼ752 Patent by

Defendant has been and continues to be willful. Defendant has had actual

knowledge of Symbologyʼs rights in the ʼ752 Patent and details of Defendantʼs

infringement based on at least the filing and service of this complaint.

Additionally, Defendant had knowledge of the ʼ752 Patent and its infringement in

the course of Defendantʼs due diligence and freedom to operate analyses.

       Plaintiff Suffered Damages

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      36.   Defendantʼs acts of infringement of the ʼ752 Patent have caused

damage to Symbology, and Symbology is entitled to recover from Defendant the

damages sustained as a result of Defendantʼs wrongful acts in an amount subject

to proof at trial pursuant to 35 U.S.C. § 271. Defendantʼs infringement of

Symbologyʼs exclusive rights under the ʼ752 Patent will continue to damage

Symbology causing it irreparable harm for which there is no adequate remedy at

law, warranting an injunction from the Court.

                             REQUEST FOR RELIEF

      37.   Symbology incorporates each of the allegations in the paragraphs

above and respectfully asks the Court to:

      (a)   enter a judgment that Defendant has directly infringed, contributorily

      infringed, and/or induced infringement of one or more claims of each of the

      ʼ752 Patent;

      (b)   enter a judgment awarding Symbology all damages adequate to

      compensate it for Defendantʼs infringement of, direct or contributory, or

      inducement to infringe, the including all pre-judgment and post-judgment

      interest at the maximum rate permitted by law;

      (c)   enter a judgment awarding treble damages pursuant to 35 U.S.C. §

      284 for Defendantʼs willful infringement of the ʼ752 Patent

      (d)   issue a preliminary injunction and thereafter a permanent injunction

      enjoining and restraining Defendant, its directors, officers, agents, servants,

      employees, and those acting in privity or in concert with them, and their

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      subsidiaries, divisions, successors, and assigns, from further acts of

      infringement, contributory infringement, or inducement of infringement of

      the ʼ752 Patent;

      (e)   enter a judgment requiring Defendant to pay the costs of this action,

      including all disbursements, and attorneysʼ fees as provided by 35 U.S.C. §

      285, together with prejudgment interest; and

      (f)   award Symbology all other relief that the Court may deem just and

      proper.



Dated: July 24, 2019                 Respectfully submitted,


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